Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 1 of 18 PagelD: 679

EXHIBIT “A”

(DeSalvo)
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 2 of 18 PagelD: 680

Case 3:20-cv-08267-FLW-TJB Document 33 Filed 01/25/21 Page 1 of 57 PagelD: 345

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CHRISTINE CONFORTI, ARATI KREIBICH,
MICO LUCIDE, JOSEPH MARCHICA,
KEVIN MCMILLAN, ZINOVIA SPEZAKIS, Civ. A. No. 3:20-CV-08267-FLW-TJB
and NEW JERSEY WORKING FAMILIES
ALLIANCE, INC.,

Plaintiffs,

Vv.

CHRISTINE GIORDANO HANLON, in her
official capacity as Monmouth County Clerk,
SCOTT M. COLABELLA, in his official
capacity as Ocean County Clerk, PAULA
SOLLAMI COVELLO, in her official capacity
as Mercer County Clerk, JOHN S. HOGAN, in
his official capacity as Bergen County Clerk,
EDWARD P. MCGETTIGAN,, in his official
capacity as Atlantic County Clerk, and E.
JUNIOR MALDONADO, in his official
capacity as Hudson County Clerk,

Defendants.

FIRST AMENDED COMPLAINT

Plaintiffs Christine Conforti, Arati Kreibich, Mico Lucide, Joseph Marchica, Kevin
McMillan, Zinovia Spezakis, and New Jersey Working Families Alliance, Inc. (collectively,
“Plaintiffs”) file this First Amended Complaint for Declaratory and Injunctive Relief against
Defendants Christine Giordano Hanlon, in her official capacity as Monmouth County Clerk, Scott
M. Colabella, in his official capacity as Ocean County Clerk, Paula Sollami Covello, in her official

capacity as Mercer County Clerk, J ohn S. Hogan, in his official capacity as Bergen County Clerk,
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 3 of 18 PagelD: 681

EXHIBIT “B”

(DeSalvo)
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 4 of 18 PagelD: 682

DONATO J. BATTISTA

HUDSON COUNTY COUNSEL

ADMINISTRATION BUILDING ANNEX

567 PAVONIA AVENUE

JERSEY CITY, NEW JERSEY 07306

(201) 795-6250

BY: DANIEL J. DESALVO (#010502006)
DEPUTY COUNTY COUNSEL
ATTORNEY FOR COUNTY OF HUDSON, E. JUNIOR MALDONADO, IN HIS
OFFICIAL CAPACITY AS HUDSON COUNTY CLERK

CHRISTINE CONFORTI, ARATI : UNITED STATES DISTRICT COURT
ARATI KREIBICH, MICO LUCIDE : DISTRICT OF NEW JERSEY
JOSEPH MARCHICA, :

KEVIN MCMILLAN, ZINOVIA

SPEZAKIS, & NJ WORKING

FAMILIES ALLIANCE,

Plaintiffs, : CASE NO.3:20-CV-08267-FLW-TJB
Vv. :
COUNTY OF HUDSON, E. JUNIOR : CERTIFICATION OF
MALDONADO, in his official : E. JUNIOR MALDONADO

Capacity as Hudson County : IN SUPPORT OF MOTION
Clerk, et al :

Defendants.

I, E. JUNIOR MALDONADO, certify as follows:

1. I am the Hudson County Clerk, and in my capacity
as Hudson County Clerk, and pursuant to statute, I am
responsible for the preparation of all ballots pertaining
to the elections in the County of Hudson.

2. The design and layout of the ballot in a political
party primary election is governed by Title 19 of the New

Jersey Statutes, which provides the rules for the filing of
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 5 of 18 PagelD: 683

petitions, bracketing of candidates, slogans, and the
process for the ballot draw to determine the order of the
candidates.

3. During the 2020 Primary election there were also in
place a series of Executive Orders which provided rules for
the dates and times of elections and, also how the elections
would be conducted via absentee ballot.

4. In order to appear on the ballot potential
candidates are required to submit the requisite petition
pursuant to N.J.S.A. 19:23-14. Municipal candidates submit
their petitions to the Municipal Clerk. County Candidates
submit their petitions to the County Clerk. State and
Federal candidates submit their petitions to the Secretary
of State. In order to create the ballots the Municipal
Clerks and the Secretary of State communicate to the County
Clerks which candidates should appear on the ballot, and
for which office.

5. Candidates are permitted to bracket with whomever
candidates they choose (so long as the candidates consent
to being bracketed together) and this bracketing request
must be submitted within 48 hours of the petition filing

deadline, N.J.S.A. 19:49-2.
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 6 of 18 PagelD: 684

6. Plaintiff Spezakis submitted a bracketing request
letter on April 7, 2020 in which Plaintiff requested, “I
hereby request to be bracketed with and otherwise featured
on the same line of the ballot, and with the same slogan,
“Not Me. Us.” along with the candidate for County
Freeholder. The letter also requested that she be bracketed
with Lawrence Hamm, candidate for United States Senate. [See
Exhibit “A”]

7. The ballot drawing was conducted on April 9, 2020
at 3:00PM via Zoom, and streamed live online via Facebook
and Instagram due to the COVID-19 in-person restrictions in
place at that time.

8. The names of the two candidates for United States
Senator were placed on small, white pieces of paper with
adhesive backing. Each candidate’s name was then placed in
its own small, plastic container. The containers were placed
in a wooden “hopper,” which is closed and rotated. The first
name drawn was that of Senate Candidate, Lawrence Hamm. As
first draw his name was placed in Column A. Senator Booker’s
name was drawn next and placed in Column B. Because
Plaintiff Spezakis and Mr. Hamm had consented to being

bracketed with each other as candidates, Plaintiff
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 7 of 18 PagelD: 685

Spezakis’s name was placed under that of Candidate Hamm and
in the row designated for Congressional candidates.
Freeholder candidate, Roger Quesada, was placed below her
name in the row designated for Freeholder at her request.
(See Exhibit “B”)

9. Attached is a copy of the Official Results of the
Primary Election held on July 7, 2020, last updated July
23, 2020. [Attached hereto as Exhibit “C”]

10. Attached is a copy of the letter solicitation from
Plaintiff Spezakis to my office soliciting my support for
her “Fair Ballot Project.” [Attached hereto as Exhibit “D”]

11. I received no communication from any candidate
contesting or otherwise challenging the ballot drawing for
this ballot.

12. The Primary election occurred on July 7, 2020.

I certify that the foregoing statements are true. I
am aware that if any of the foregoing statements made by me
are willfully false, I am subject to punishment.

s/E.JUNIOR MALDONADO
Dated: March 25, 2021 E. Junior Maldonado

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‘EXHIBIT “A”

(Maldonado)
Case 3:20-cv-08267-ZNQ-

Honorable iB. Junior M
Hudson County Clerk

257 Cornelison Avenue,
Jersey City, New Jersey

countyclerke@henpus

Re: Zinovia Sp
Honorable County Cler

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Page 9 of 18 PagelD: 687

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Honorable Tahésha Way, Secretary of State

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67-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 10 of 18

Very truly yours,

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contact

Zinovia Spezakis

Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 11 of 18 PagelD: 689

EXHIBIT “B”

(Maldonado)
Town of Kearny — County of Hudson

Primary Election Sample Ballot é Qe M Monaibo

July 7, 2020

Ciudad de Kearny - Condado de Hudson
Boleta de Muestra de la Eleccién Primaria
7 de Julio de 2020

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Town of Secaucus — County of Hudson Ciudad de Secaucus — Condado de Hudson
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July 7, 2020 7 de Julio de 2020
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EXHIBIT “C”

(Maldonado)
Case 3:20-Cv-08267-ZNQ-TJB

ty DEM - HOUSE of REPRESENTATIVE

(VOTE FOR: 1)
Last Updated (ty Thursday, July 23, 2029, 4:49:07 Py

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Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 16 of 18 PagelD: 694

EXHIBIT “D”

(Maldonado)
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 17 of 18 PagelD: 695

County Clerk E. Junior Maldonado
257 Cornelison Avenue,

Jersey City, NJ 07302
countyclerk@hcnj.us

January 27, 2021
Dear County Clerk E. Junior Maldonado,
Thank you for your service to the citizens of New Jersey.

The Fair Ballot Project is working on behalf of New Jersey voters asking our elected officials to
support fair ballot design. New Jerseyans deserve to have fairly elected leaders working for us.
That’s why we asked you to pledge to support fair ballots, such as ballots without lines,
columns or slogans, by signing our attached Fair Ballot Pledge.

Studies have proven that the current design of our Primary Ballot has a huge effect on the
outcome of elections. In fact, according to a legal challenge, “the state’s failure to treat
candidates for the same office equally places a significant burden on voting rights that would
not survive a constitutional challenge.” (RUBIN, 2020)

The United States is a democracy. Fair ballots are an integral part of that. As County Clerk, you
are directly responsible for our Primary Ballot. As such, we ask that you work on behalf of our
voters in support of fair ballot design by completing the Fair Ballot Pledge. For more
information, analysis and data, please go to fairballotproject.org/research.

If you have any questions, please contact us at info@fairballotproject.org.

Sincerely,
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(Ur
Zina Spezakis
Executive Director
Fair Ballot Project

CC: Press

Source: RUBIN, J. S. (2020, June 26). Can Progressives Change New Jersey? Retrieved from The
American Prospect: https://prospect.org/politics/can-progressives-change-new-jersey/
Case 3:20-cv-08267-ZNQ-TJB Document 57-2 Filed 03/29/21 Page 18 of 18 PagelD: 696

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